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 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
 OR OF PARTY APPEARING IN PRO PER
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 ATTORNEY(S) FOR:    Jeff Ross
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
GARY CHENG, Individually and on behalf of all                                 CASE NUMBER:

others similarly situated,                                                                   Case No. 2:21-cv-06240-PA-JEM
                                                              Plaintiff(s),
                                     v.
ACTIVISION BLIZZARD, INC., ROBERT A.
                                                                                             CERTIFICATION AND NOTICE
KOTICK, DENNIS DURKIN, and SPENCER
                                                                                               OF INTERESTED PARTIES
NEUMANN,                                                                                           (Local Rule 7.1-1)
                                                             Defendant(s)


TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                                       Jeff Ross
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                                 PARTY                                                 CONNECTION / INTEREST
Jeff Ross                                                                     Movant




         10/4/2021                                         /s/ Laurence M. Rosen
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Jeff Ross


CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
